Case 2:15-cv-00998-JRG-RSP Document 9 Filed 06/10/15 Page 1 of 5 PageID #: 32




                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC

                        Plaintiff,                          Civil Action No. 2:15-cv-998

                 v.

 NVIDIA CORPORATION,                                        JURY TRIAL DEMANDED

                        Defendant.


                AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Display Technologies” or “Plaintiff”) files this

Amended Complaint against NVIDIA Corporation (“NVIDIA” or “Defendant”) alleging as

follows:

                                             PARTIES

         1.     Plaintiff Display Technologies is limited liability company organized under the

state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Defendant NVIDIA is a corporation organized and existing under the laws of the

State of Delaware with a principal place of business located at 2701 San Thomas Expressway,

Santa Clara, CA 95050. Defendant can be served via its registered agent for service of process:

Corporation Service Company, 2711 Centerville Rd., Ste. 400, Wilmington, DE, 19808.

                                 JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
Case 2:15-cv-00998-JRG-RSP Document 9 Filed 06/10/15 Page 2 of 5 PageID #: 33




        4.     Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed and/or

induced acts of patent infringement in this district.

        5.     Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at least to its substantial business

in this forum, including: (i) at least a portion of the infringements alleged herein; and (ii) regularly

doing or soliciting business, engaging in other persistent courses of conduct, and/or deriving

substantial revenue from goods and services provided to individuals in Texas and in this judicial

district.

                                   U.S. PATENT NO. 8,671,195

        6.     Plaintiff is the owner by assignment of United States Patent No. 8,671,195 (“the

’195 Patent”) titled “Digital Media Communication Protocol.” The ’195 Patent was duly issued on

March 11, 2014. A true and correct copy of the ’195 Patent is attached as Exhibit A.

        7.     Mr. Leigh M. Rothschild is listed as the inventor of the ’195 Patent.

        8.     On information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’195 Patent complied with such requirements.

                                    COUNT I
                     (INFRINGEMENT OF U.S. PATENT NO. 8,671,195)

        9.     NVIDIA has, pursuant to 35 U.S.C. § 271, infringed and continues to infringe, the

’195 Patent in the State of Texas, in this judicial district, and/or elsewhere in the United States by,

among other things, making, using, selling, offering to sell, and/or importing, without license a

digital media communications protocol for transmitting media files between a media terminal and

media node on an interactive network, such as NVIDIA Experience.
Case 2:15-cv-00998-JRG-RSP Document 9 Filed 06/10/15 Page 3 of 5 PageID #: 34




       10.     NVIDIA’s Experience falls within the scope of at least claim 17 of the ’195 Patent,

as evidenced by NVIDIA’s product descriptions. For example, NVIDIA Experience provides a

digital communication protocol. See http://shield.nvidia.com/game-stream. NVIDIA Experience

has at least one media terminal and media node, a communications link between them, the

communications link being initiated by one of the NVIDIA devices, the media node and terminal

structured to transmit a digital file over the communications link, and the communications link is

structured to bypass at least one media terminal security measure. For example, NVIDIA

Experience “harnesses the power of GeForce GTX graphics cards to stream your games from your

PC to your SHIELD device over the Internet, unleashing PC gaming around the house or on the

go.” Id.

       11.     As a result of NVIDIA’s infringement of the ’195 Patent, Plaintiff has suffered

monetary damages in an amount not yet determined, and will continue to suffer damages in the

future unless NVIDIA’s infringing activities are enjoined by this Court.

       12.     Unless a permanent injunction is issued enjoining NVIDIA and its agents, servants,

employees, attorneys, representatives, affiliates, and all others acting on their behalf from

infringing the ’195 Patent, Plaintiff will be irreparably harmed.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter:

       1.      A judgment in favor of Plaintiff that Defendant has infringed the ’195 Patent;

       2.      A permanent injunction enjoining Defendant and its officers, directors, agents

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

active concert therewith from infringement, inducing the infringement of, or contributing to the

infringement of the ’195 Patent, or such other equitable relief the Court determines is warranted;
Case 2:15-cv-00998-JRG-RSP Document 9 Filed 06/10/15 Page 4 of 5 PageID #: 35




        3.     A judgment and order requiring Defendant pay to Plaintiff its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’195

Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment

infringement; and

        4.     Any and all other relief, at law or equity, to which Plaintiff may show itself to be

entitled.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

        DATED June 10, 2015.                          Respectfully submitted,

                                                      By: /s/ Hao Ni
                                                      Hao Ni
                                                      Texas Bar No. 24047205
                                                      hni@nilawfirm.com
                                                      Timothy T. Wang
                                                      Texas Bar No. 24067927
                                                      twang@nilawfirm.com
                                                      Neal G. Massand
                                                      Texas Bar No. 24039038
                                                      nmassand@nilawfirm.com
                                                      Stevenson Moore V
                                                      Texas Bar No. 24076573
                                                      smoore@nilawfirm.com

                                                      Ni, Wang & Massand, PLLC
                                                      8140 Walnut Hill Ln., Ste. 500
                                                      Dallas, TX 75231
                                                      Tel: (972) 331-4600
                                                      Fax: (972) 314-0900

                                                      ATTORNEYS FOR PLAINTIFF
                                                      DISPLAY TECHNOLOGIES, LLC
Case 2:15-cv-00998-JRG-RSP Document 9 Filed 06/10/15 Page 5 of 5 PageID #: 36




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore___
                                              Stevenson Moore
